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White River School District #416 Wyandanch Union Free School District
2A0 North “A” Street Straight Path School oo -
Buckley, WA 98321 Wyandanch, NY 11798

Transportation Supervisor Supervisor

(206) $29-0600 . (516) 491-1058 - ,
Total Students: 3,000 Total Students: N/A.

Miles: N/A moe, ' Square Miles: WA
Implemented: 1990 \ Implemented: NIA
Wichita Public Schools ‘Kenta City Schools -
3850 North Hydraulic 578 East Market Street
Wichita, KS 67219 Xenia, OH 45385
Lorna A. Rust James Smith
‘Transportation Services Coordinator of Pupil Services

(316) 833-2190 (513) 376-2961
Total Students: 80,000 Total Students: 10,000
Square Miles: Square Miles:

Implemented: 1991 Implemented: 1989
Windham Public Schools
322, Prospect Street
Willimatic, CT: 06226
Carl LaMar
Business Adminstrator

(203) 423-8401
Total Stadents: 2,

Square Miles: N/A.
Implemented: 1989 -
Wirt County Schools
793 Street
Blizabeth, WV 26143

Doug Hill
Dir. of Transportation

(304) 275-4279
Total Students: N/A
Square Miles: NWA
Implemented: N/A

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Durham ‘Transportation, Inc.
17878 Castleton Street

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SCHEDULE D

Escrow agreement

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SCEEDULE A

First Right of Refusal Agreement

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be unlawful. ‘This announcement is not an offer of securities in the United States, Canada, South
Africa, Australia, Japan or any jurisdiction in which the same would be unlawful

FirstGroup plo
9 February 2007

FirstGroup ple (“FirstGroup” or the “Company”)

Acquisition of Laidlaw International, Inc.

The board of directors of FirstGroup (the “Board”) today announces that FirstGroup has signed an
agreement (the “Acquisition Agresment”) for the acquisition of Laidlaw International, Inc.
(“Laidlaw”) (the “Acquisition”) for- $35.25 per ordinary share of Laidlaw in cash, equivalent to a
total consideration of $3.6 billion (£1.9 billion) including the refinancing of Laidlaw’s existing debt.
Upon completion, the Acquisition will create North America’s leading transport services company.
The Acquisition has beea unanimously recommended by the boards of both companies.

day before this announcement and the total consideration of $3.6 billion represents a multiple of 7.7
times the EBITDA of Laidlaw for the financial year ended Angust 2006 of $466.3 million.

The Board believes that there are significant stratogio and financial benefits to be gained from the
acquisition of Laidlaw in terms of scale, product offering snd position in the North American
transport market, as well as an opportunity to create value through synergies. -

Specifically, the Board expects that the Acquisition will:

» enable FirstGroup to develop further its position in North America, consistent with
FirstGroup’s strategy of growing the earnings of the business, inter alia, by selective
acquisition . .

« provide a strong platform for FirstGroup to derive further economies of scale and offer
consistent standards of quality and service to customers in both the public and private sector
in North America . .

© generate approximately $70 million of annualised pre-tax cost savings in the first full
finencial year following its completion

¢ be earings enhancing in the first full financial year following its completion ~

The cash consideration for the Acquisition (including the repayment of existing debt of Laidlaw) of
$3.6 billion (£1.9 billion) will be satisfied through a combination of debt and equity finance. The

debt portion will be financed from new committed bank debt facilities of $3.75 billion (£2.0
billion). The equity portion of approximately $750 million, which is supported by an equity bridge

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facility of that amount, will be financed from 4 placing of new ordinary shares to taise
approximately £200 million announced separately today ‘and a subsequent equity isme of
approximately £175 million which is expected to take place shortly after completion of the
Acquisition. .

The Acquisition is conditional upon, amongst other things, the approval of the shareholders of both
FirstGroup and Laidlaw and receipt of necessary anti-trust approvels in the US. :

marr detais egring the Anquiston’and Ladin ar set out im Ge Sil of Os
srmouncement of Which this summary forms part.

Martin Gilbert, Chairman of FirstGroup, commented: .

“This acquisition marks an important new phase in the development of the group’s business. As &
consequence of the strengthening of our North American activities, we will create additional value
for our shareholders.” , :

“FirstGroup’s acquisition of Laidlaw will considerably enhance the group’s existing activities in
North America, which themselves have grown strongly since we first qnvested in the US in 1999.

America to the Group and working with them to integrate the businesses. Laidiaw is an established,
well rn company that shares our commitment to safety and delivering high quality services to the
customers and the communities we serve.”

Kevin Benson, President and Chief Executive Officer of Laidlaw added:

combination of Laidlaw and FirstGroup will bring together two well-known brands snd two well-
respected companies that share a very strong focus on employee and customer satisfaction. I am
delighted to recommend this transaction fo our stockholders.”

An analyst meeting to discuss the Acquisition will be held at 9.00am GMT today at the offices of
JPMorgan Cazenove, 20 Moorgate, London, EC2R 6DA. An interview with Moir Lockhead, Chief
Executive of FirstGroup ple, can be seen at www firstgroup.com and www.cantos.com.

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Rachael Borthwick, Corporate Communications Tel: +44 (0) 207 291 0508
Director .
JPMorgan Cazenove . Tel: - +44 (0) 207 588 2828

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Malcolm Moir

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Tricorn Partners Tek: +44 (0) 207 823 0888
(Financial advisers to FirstGroup) .
Justin Dowley

UBS

(Broker to Fi ‘irstGroup) :

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(PR for FirstGroup)

Gilea Croot

Craig Breheny

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William Strong Tel: +1 312 706 4400
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JPMorgan Cazenove Limited (“JPMorgan Cazenove”), which is authorised and regulated in the
United Kingdom by the Financial Services Authority, is acting exclusively as financial adviser and
corporate broker for FirstGroup and no one else in jon with the Acquisition and will not be
responsible to anyone other than FirstGroup for providing the protections afforded to its clients or

for providing the protections afforded to its clients or for providing advice in relation to He
Acquisition or in relation to the contents of this announcement, or for any other transaction,
arrangement or matters referred to in this announcement.

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UBS Limited (“UBS”) is acting exclusively as corporate broker for FirstGroup and no one else in
connection with the Acquisition and will not be responsible to anyone other than FirstGroup for
providing the protections afforded to its clients or for providing advice in relation to the Acquisition
or in relation to the contents of this announcement, or for any other transaction, arrangement or
matters referred to in this announcement.

Morgan Stanley & Co. Inc. (“Morgan Stanley”) is acting exclusively as financial adviser to Laidlaw
and no one else in connection with the Acquisition and will not be responsible to anyone other than

. Laidlaw for providing the protections afforded to its clients or for providing advice in relation to the
Acquisition or in relation to the contents of this announcement, or for any other transaction,
arrangement or matters referred to in this announcement. -

Certain statements in this announcement are forward-looking statements. Such statements speak
only as at the date of this announcement, are based on current expectations and beliefs and, by their
nature, are subject to a number of known and unknown risks and uncertainties that could cause
actual results and performance to differ materially from! any expected future results or performance
expressed or implied by the forward-looking statement, The information contained in this
announcement is subject to change without notice and neither FirstGroup, JPMorgan Cazenove,
Tricom, UBS nor Morgan Stanley assumes any responsibility or obligation to update publicly or
review any of the forward-looking statements contained herein.

No statement in this announcement is intended to be a profit forecast or to imply that the earnings of

FirstGroup for the current year or future years will necessarily match or exceed the historical or
published earnings of FirstGroup or Laidlaw.

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FirstGroup ple (“FirstGroup” or the “Company”)
Acquisition of Laidlaw International, Inc.
L Introduction

the Board today amounces that FirstGroup has signed an Acquisition Agreement for the
acquisition of Laidlaw, the leading operator of school and inter-city bus transportation and a
supplier of public transit services in North America. Under the terms of the Acquisitio
Agreement, FirstGroup will pay consideration of $35.25 per ordinary share of Laidlaw in cash,
equivalent to a total consideration of approximately $3.6 billion (£1.9 billion) including the
refinancing of Laidlaw’s existing debt.

2. Information on Laidlaw

Laidlaw is the leading operator of school and inter-city bus transportation and a supplier of public
transit services in North America. Laidlaw group businesses operate recognised brands, including
Laidlaw Education Services, Greyhound Lines and Greyhound Canada (“Greyhound”), and Laidlaw
Transit. Laidlaw’s shares trade on the New York Stock Exchange.

For the financial year ended 3] August 2006, Laidlaw had revenues of $3.1 billion (£1.6 billion)
and operating profit of $250.5 million (£132 million). As at 31 August 2006 Laidlaw had gross
assets of $3.0 billion (£1.6 billion).

Laidlaw operates in three reportable business segments that provide transportation services in the
United States (approximately 84% of revenue).and Canada (approximately 16% of Teverme):

(2) Education Services (approxithstely 50% of revenue);
(i) Greyhound (approximately 40% of revenue); and

(iii) Public Transit (approximately 10% of reves).

The Education Services segment (“Education Services”) provides school bus transportation,
including scheduled home-to-school, extra-curricular and charter and transit school bus services,
throughout the United States and Canada. Greyhound, a national provider of intercity bus
transportation in the United States and Canada, provides scheduled passenger service, package
-delivery service and charter bus services. The Public Transit segment (“Public Transit”) provides
fixed-route municipal bus services and paratransit bus transportation for riders with restricted
mobility. For the year ended 31 August 2006, approximately 84% and 83% of Laidlaw’s revenues
and EBITDA, respectively, were generated in the United States, with the remaining 16% and 17%
generated in Canada.

(i) Education Services

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Laidlaw’s Education Services segment is the leading independent school bus operator in North
America. tho segment operates in 37 statoe in the United States and 6 proviness

Headquartered in the Chicago suburb of Naperville, Education Services operates school buses and
special education vehicles, primarily under the name Laidlaw Education Services in North America.

The Education Services business is composed of three core activities (home-to-school, extra-
curricular and charter & transit) as well as the non-core ‘activities of equipment leasing, logistical
support, maintenance agreements and other support services. ,

Education Services has contracts with more than 1,000 school boards
America, Education Services has approximately 450 operating ions i
States, providing transportation for approximately 2 million students
consists of approximately 41,000 buses. For the twelve months en:
Services generated $1.58 billion in revenues and $294.5 million in EBITDA.

passengers annually. Greyhound also provides package express
For the twelve months ended 31 August 2006, Greyhound generated $1.24
$152.1 million in EBITDA. .

(iii) . Public Transit

Laidlaw’s Public Transit business is a leading private provider of municipal public transportation
services in North America, specialising in paratransit (transportetion for mobility-challenged
individuals) and fixed-route (municipal transit) contract services. Headquartered in Overland Park,
Kansas, thé segment operates under the name Laidlaw Transit Services. Laidlaw Transit Services
also operates under the name SafeRide Services in Phoenix, Arizona. Revenue is mainly driven by
contracts with regional and municipal transit authorities. As of 31 August 2006, Public Transit had
nearly 130 municipal transit and paratransit contracts, involving 40 million passengers carried
annually, and a fleet of approximately 3,400 vehicles, approximately 71% of which are client
owned, For the twelve months ended 3] August 2006, Public Transit generated $308.2 million in
revenues and $19.7 million in BBITDA. .

Public Transit operates at approximately 88 locations in 23 states and transports more than 40 -
million passengers per year.

3. Background to and reasons for the Acquisition
FirstGroup’s strategy is to maintain and develop its role as 8 leading global transport provider. it

has pursued, for some years, & strategy of improving shareholder returns through organic growth
and by selective acquisitions in the UK and North America. The Acquisition is consistent with this

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strategy and is expected to be earnings enhancing in the first full financial year following
completion.

a) Background
In 1999, as part of its guntegy to develop profitably its business outside the UK, Firmen”

- acquired the US based Ryder Publio Transportation Services, Inc. (“Ryder”), 8 business.
involved in student transportation but also involved in transit contracting and management and fleet

maintenance and ancillary services. This represented FirstGroup’s first large US investment.

FirstGroup has successfully integrated Ryder, and grown its business in North America (both
organically and by acquisition) from @ turnover of $683 million, in its first full financial year of
operations, to & business which reported turnover of $1,476 million in the year ended 31 March
2006, and which has continued to grow since then. Over the period since 1999 FirstGroup has built
avery experienced US management team.

The US school bus market is highly fragmented, with bus services predominantly run by school
hoards, The Board estimates that of the 500,000 schoo! buses in North America, approximately
350,000 are in the public sector and are still the direct responsibility of, and are operated by, the
school district authorities.

rirstGroup's involvement in the US transit market consists largely of “Fixed Route” contracts to
operate and manage urban bus services on behalf of state transit authorities and “Paratransit”

assengers with
centre operations for these services, The combined Fixed Route and Paratransit markets aro
estimated to be worth approximately $15 billion, of which some $13 billion is in the public sector
- and some $2 billion in the outsourced private sector.

b) Strategic rationale

‘The Board believes that, in bringing together FirstGroup and Laidlaw, it will create a stronger, more —
robust business, in what is still a fragmented market, that is capable of growing its earnings through

More specifically, FirstGroup is familiar with the school bus and transit markets in which Laidlaw

operates and has followed Laidlew in an acquisition context for over two years. The Board of —
FirstGroup views the business as extremely attractive and will bring to FirstGroup:

" 1) Proven operations with respected management,
2) Diversified contract-backed revenues with over 1,400 contracts;

. 4) Healthy, organic opportunities; and
5) Strong cash generation, enabling the group to reduce leverage quickly.

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*

The Acquisition will be transformational in terms of developing FirstGroup’s position in the North
American transportation market. The combined business will employ over 98,000 staff in North
America.

In the North American school bus market, the lower cost base will enable the enlarged group to bid
for contracts more effectively and the Board of FirstGroup believes that its enhanced service
offering will benefit both the customers and the Company. It will also give FirstGroup the
opportunity to work more effectively with those school districts which continue to run their own
buses, by offering them a greater range of services bringing more operational and cost efficiencies.
The combined business will operate approximately 63,000 school buses in the US and Canada. It
will employ over 71,000 staff in North America. .

Since the acquisition of Ryder, FirstGroup has grown strongly in the transit contracting and
management markets. FirstGroup’s transit busincss has successfully expanded in the higher

margin, faster growing call centre, paratransit, logistics consultancy and public/private shuttle bus ,

of scale and importantly consistent standards of quality and service to its customers in both the
public and private sector. The combined business will employ over 12,000 staff in the US and
Canada.

FirstGroup considers Greyhound to be an attractive busines with exciting growth prospects and
strong brand. Greyhound has a wel -respected management team, who have re-shaped the business
in the last two years through network rationalisation. Greyhound is the only national provider of
scheduled intercity bus services in the US and Canada, employing over 11,000 staff, and is a
credible competitor to many other forms of mid to long distance transport. FirstGroup’s
management believes there is further scope to enhance revenues through yield management
systems, improved revenus. collection and optimisation. In addition, FirstGroup believes that
Greyhound’s marketing offering is relatively under-developed and as a consequence there is
significant scope to drive revenue growth, for example from longer term bookings.

However, Greyhound is a less obvious strategic fit with the rest of FirstGroup’s current business.
The Board of FirstGroup will therefore be carrying out a strategic review of Greyhound.

c) Financial effects of the acquisition

The Acquisition will bring significant savings in both operating costs and capital expenditure.
FirstGroup estimates annual cost synergies to be approximately $70 million in the first full financial
year of ownership. The savings will.be achieved through:

1) rationalisation of the network and removal of overlapping operations;
2) removal of excess spare fleet,

3) reduction in equipment stock, such as spares;

4) sale of excess owned properties; ,

5) purchasing improvements, .

6) reduced insurance costs; and

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7) removal of ‘North American board costs and central overheads.

These savings will enable FirstGroup to drive margin improvements in both Laidlaw and

combined business. —

The potential savings described above are expected to make the Acquisition earnings enhancing in
the first full financial year of ownership. °

The integration of Laidlaw into FirstGroup’s existing business will be overseen by Dean Finch, -

Group Finance Director. David Leeder, Director of International Development and Marketing, will
assume responsibility for Greyhound.

The cash consideration for the Acquisition, including the refinancing of Laidlaw’s existing debt, is
approximately $3.6 billion (£1.9 billion). This will be fmanced through new committed bank debt
facilities of $3.75 billion (£2.0 billion) and eqnity issues of approximately £375 million, including
the £200 million placing announced se ly today. More details of the financing structure are
given in paragraph 6 below.

‘The combined FirstGroup and Laidlaw will have strong cashflows and FirstGroup has designed the
financing structimre to enhance shareholder value through en efficient use of its balance shest to
minimise the amount of equity to be issued to finance the Acquisition, whilst maintaining a prudent
overall capital structure consistent with Investment grade status. The strong cashflows from. the
combined business should enabis FirstGroup to rapidly reduce debt levels over the next few years.

4. Details of the Acquisition

Under the terms of the Acquisition Agreement, FirstGroup has agreed to acquire Laidlaw by way of

a merger of Fern Acquisition Vehicle Corporation (a newly incorporated Delaware Corporation and
a wholly-owned subsidiary of FirstGroup) with and into Laidlaw (as a result of which each issued
and outstanding share of common stock of Laidlaw will be converted into a right to receive $35.25
in cash). Pursuant’to such merger, on completion of the Acquisition, Laidlaw will become one of
the Company's wholly-owned subsidiaries.

Based on the total issued and outstanding share capital of Laidlaw at the date of this announcement .

of 81.7 million ordinary shares, including the cashing out of Laidlaw option hol , the total
consideration payable by FirstGroup to Laidlaw shareholders will be approximately $2.9 billion.

The Acquisition Agreement contains various representations and warranties customary for a us
acquisition of the size and nature of the Acquisition. The representations and warranties from
Laidlaw to FirstGroup cover, amongst other things, the organisation and capitel of Laidlaw and its
subsidiaries, the due and valid execution of the Acquisition Agreement and the absence of certain
events and liabilities which could be expected to havo a material adverse effect on Laidlaw’s
financial condition or business or on Laidlaw’s ability to consummate the transaction, The

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representations and warranties from FirstGroup to Laidlaw cover, amongst other things, the due and
valid execution of the Acquisition Agreement.

The Acquisition Agreement is conditional upon, amongst other things: (i) the waiting period
applicable to the consummation of the Acquisition under the Hart-Scott-Rodino (“HSR’) Act having
expired, been terminated or been waived and approval having been obtained under the Competition
Act (Canada), (ii) the approval of the Acquisition Agreement and the transactions contemplated
thereby by Laidlaw shareholders at a special shareholder meeting of Laidlaw; and (ili) the approval
of the Acquisition Agreement and the transactions contemplated thereby by FirstGroup
shareholders at a general meeting of FirstGroup (the “BGM”). Although the Board is confident that
. the reguistory conditions referred to above will be satisfied, there can be no assurance as to the
timing or outcome of the HSR or other necessary clearance processes or that such clearances will
not be subject to conditions, including the giving of certain undertakings (for example, as to
divestments) by FirstGroup. .

Either FirstGroup or Laidlaw may terminate the Acquisition Agreement if, amongst other things,
the merger has not been consummated on or before 8 August 2007; provided that cither FirstGroup
or Laidlaw may unilaterally extend such date for up to three months if completion of the
Acquisition is prevented only by the requirement to obtain the necessary competition clearances.

The Board ‘currently expects that completion of the Acquisition will take place later this year.
_Purther details ofthe principal terms and conditions of the Acquisition Agreement will be set out in

a circular to be sent to FirstGroup shareholders seeking approval of the Acquisition and giving

- notice of the EGM (the “Circular’).

5, Break fees .

The Acquisition Agreement provides for the payment of certain fees and expenses by FirstGroup

and Laidlaw to each other in certain circumstances in the event that the Acquisition should not be

completed. :

Laidlaw has agreed to pay to FirstGroup a break fee of up to $78 million in certain circumstances.
FirstGroup has agreed to pay Laidlaw a break fee of up to $43.35 million in certain circumstances.

Further details of these arrangements will be set out in the Circular.

6. Financing of the Transaction

The cash consideration for the Acquisition, including the refinancing of Laidlaw’s existing debt, is
expected to be approximately $3.6 billion (£1.9 billion). This will be fmanced through new
committed bank facilities of $3.75 billion (£2.0 billion) and equity issues of approximately £375

million, including the £200 million placing announced separately today. In addition FirstGroup
expects to replace certain letters of credit and other facilities of Laidlaw.

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The equity finanoing of approximately £375 million is expected to comprise the placing announced
separately today of approximately £200 million and a further equity issue of approximately £175
million shortly after completion of the Acquisition, The full amount of the equity required has been
underwritten pursuant to a standby equity underwriting agreement and to the extent that any such
equity has not been issued prior to completion, the funds to complete the Acquisition will be -

a) Committed Debt Facilities and Standby Underwriting

The scmmitted bank debt facilities comprise the following facilities entored into todsy by

FirstGroup: .

e a senior loan facility (the “Senior Facility”) comprising two tranches (a term facility and &
revolving credit facility) in an aggregate amount of $3.75 billion entered into with HSBC Bank
ple, J.P. Morgan Chase Bank, N.A. and The Royal Bank of Scotland ple; and

a subordinated equity bridge facility (the “Equity Bridge Facility”) in an amount of $750
million entered into with J.P. Morgan Chase Bank, N.A..

Bridge Facility by means of an equity offering 28 soon as reasonably practicable following the
consummation of the Acquisition. Although the price at which any new ordinary shares of
FirstGroup are to be issu will be determined by FirstGroup and the Underwriters at the time of

new ordinary share. The parties farther undertake to cooperate in the negotiation of the
underwriting arrangements relating to any specific offering.

Further details of the Senior Facility, the Equity Bridge Facility and the Standby Underwriting
Agreement will be set out in the Circular. :

b) Placing of new Ordinary Shares

FirstGroup has today also announced a bookbuilt, non pre-emptive placing (the “Placing”) of up to
39,527,477 new ordinary shares (the “Placing Shares”) to raise approximately £200 million. The
Placing is not conditional on the completion of the Acquisition, The Placing Sharea are being
placed, subject to the terms and conditions of a placing agreement entered into today between
FirstGroup, JPMorgan Cazenove, JPMSL and UBS, at a price (the “Placing Price”) to be agreed by
JPMorgan Cazenove, JPMSL and FirstGroup at the close of the bookbuilding process, The Placing

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Shares will represent a maximum of approximately 9.99 per cent. of FirstGroup’s current issued
share capital. -

If the Acquisition does not complete, FirstGroup will use the monies raised in the Placing for
potential investment opportunities in Continental Europe, or general corporate purposes in the UK
and US.

7. Current trading and prospects
a) FirstGroup

Commenting on the interim resuits announced on the 8 November 2006, FirstGroup's Chief
Executive, Moir Lockhead said: .
{ believe the Group is well placed for continued growth during the second half of the year. The
Group's clear strategy is to increase shareholder value by profitably growing our core businesses

srofpecta tnd ability to genereip strong cash flows nd is commited to dividend growth of 1 Poe
cent. per annum, for the foresecable future st least until 2008, and where appropriate share
Te while maintaining a strong balance shect. ‘Trading in the second half of the year has
started well and is in line with our expectations.”

b) The Enlarged Group

The Board believes that, following completion of the Acquisition, the enlarged group will be well
placed to continue to develop its leading position in the large, fragmented North American transport
market. The Board has confidence in the financial and trading prospects of the enlarged group for
the current and next financial years, much of which will be spent in integrating and assimilating
Laidlaw and FirstGroup’s North American operations and on the delivery of synergies, to realise
the cost savings and operational benefits outlined above. .

8. Shareholder circular and outline timetable

_ FirstGroup intends to despatch the Circular to FirstGroup sharcholders giving full details of the
Acquisition, and including notice of the BGM, in March. The Board expects separate meetings of
FirstGroup shareholders and Laidlaw shareholders to take place during April with completion of the
Acquisition, subject to satisfaction of the conditions outlined above, expected later this year.

‘This announcement assumes throughout an $:£ exchange rate of 1.90.

ENQUIRIES:

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Rachael Borthwick, Corporate Communications Tel: +44 (0) 207 291.0508
Director -

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(PR for FirstGroup)

Giles Croot

Craig Breheny

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Kevin Benson, Chief Executive Officer
Sarah Lewensohn, Director, Investor Relations

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Frank Oclerich Tel: +1 312 706 4444

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responsible to anyone other than FirstGroup for providing the protections afforded to its clients or
for providing advice in relation to the Acquisition or in relation to the contents of this
announcement, or for any other transaction, arrangement or matters referred to in this
announcement. :

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Financial Services Authority, is acting exclusively as financial adviser for FirstGroup and no ons
else in connection with the Acquisition and will not be responsible to anyone other than FirstGroup
for providing the protections. afforded to" its clients or for providing advice in relation to the
Acquisition or in relation to the contents of this announcement, or for any other transaction,
arrangement or matters referred to in this announcement,

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providing the protections afforded to its clients or for providing advice in relation to the Acquisition
or in relation to the contents of this armouncement, or for any other transaction, arrangement or
matters referred to in this announcement.

Morgan Stanley & Co. Inc. (“Morgan Stanley”) is acting exclusively as fmancial adviser to Laidlaw

eae ey co connection with the Acquisition and will not be responsible to anyone ofhes Tete
Laidlaw for providing the protections afforded to its clients or for providing advice in relation to the

’ Acquisition reine ation to the contents of this announcement, or for any other transaction,
arrangement or matiors referred to in this announcement.

Certain statements in this announcement are forward-looking statements. Such statements speak
only as at the date of this announcement, are based on current expectations and beliefs and, by their
nature, are subject to a number of known and unknown risks and uncértainties that could cause
nat vnutts end performmoe to differ materially from any exxpected future results or perioennl ts
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announcement is subject to change without notice and neither FirstGroup, JPMorgan Cazenove,
Tricorn, UBS nor Morgan Stanley assumes any responsibility or obligation to update publicly or
review any of the forward-looking statements contained herein.

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FirstGroup for the current year or foture years will necessarily match or exceed the historical or

published earnings of FirstGroup or Laidlaw.

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First Cp

transforming travel -

ANNUAL REPORT AND ACCOUNTS 2010

The leading transport operator
in the UK and North America

SoS

EXHIBIT

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FirstGroup plc is the leading transport operator in the UK and
North America with annualised revenues of over £6 billion a year.
We employ more than 130,000 staff throughout the UK and North
America and transport some 2.5 billion passengers a year.

Our core values of safety and customer service are at the heart
of our business and underpin everything we do. There is no
niqher priority than the aafaty and security of our passengers
and cur staff.

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OPERATING AND FINANCIAL REVIEW 4

Financial highlights

ee ee eee aor
Revenue {Em} ee ee 6,319.3 6,187.3
adjusted EBITDA naj 769.6 772.2 |
Adjusted operating profit’ fem) 453.9 497.5
Operating profit (2m) . _ 368.5 371.1.
Adjusted profit before tax’ (£m) 264.0 326.4
Profit before tax (Em) 479.6 200.0
- Adjusted basic EPS’ (pence) 885 48.6
Basic EPS | pence} oe. 27.5 30.2
Proposed finai dividend per share (pence) . 14.0 12.7
Net debt’ (£m) 2,281.5 2,503.5

1 Adjusted carving pron plus cepresielicn .
3 Betors aherges. hadpe on tnanchal deserves, Ting: sein, otnas noneroceurnng wnena wee) SmebpAl cr CREDO OF HITS

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Our Group

rstGroup plc Is the leading transport operator in the UK and North America with
revenues of over £6 billion a year. We employ more than 430,000 staff throughout
the UK and North America and transport some 2.5 billion passengers a year.

® NORTH AMERICA CONTRACT BUSINESS
vs are the lescing provder ofraneportation services In North Ametioa, ist Student

@ a@REYHOUND
Greyhound Is the only national provider of scheduled intercity coach transportation

We also opereie Bonus, aretwork offow cost, high cpaaty intarcly coach eervicoe
Inking olty.paire within the North East corridor of the US.

We have three operating subsidiaries in the US: Vatey Transit Compary (Texas Merico
perder Crucero USA futher Calforia and Arizona into Mexico} and Americanos

© uk BUS
ia are the largest bus operator in the uk with a fleet of 8,500 buses and & merit
spare of appradmately 22%. We cary approximately 3 rion Passengers every days

routes between London and Portsmouth and Southempton.
UK RAIL
Our UK Rall division opsraiss and freight services in the UK. We have &
strong Of intercity, regionel and commuter franchises. Pessenger

We also operate ral freight earvioas through First GERY and operaia the
a ier Tremink network on behelf of Transport for London osrrying 28 maton
eee ma U's largest ce operacr carying over 280 rion passengers & yee

125
Case 3:11-mc-00036-L Document 8-3 Filed 03/17/11 Page 24 of 55 PagelD 437

Find out more on page 13
+) www.firetgroup.com/narth_emerica

Revenue Operating profit Employees ” Where we operate

£603.3m £23.9m 8,000 <a~ Qreyteourn notwresk
. . . . in the US
; : Ny aR —- Gréytnonal naterestt
i! 3 \e Canada
Ss Altiiated casters
lo Mexien
Find out more on page 15
> www.greyhound.com or www.greyhound.ca
Revenue Operating prof! Employees Where we operate
2£1,170.6m 2£124.6m 25,000 <2. UK thos operations
Find out more on page 16
> www.firetgroup.com/ukbus .
Revenue Operating profit Employees = Where we operate
£2,188.4m £92.6m 13,000 . = First Caphal Coanest
i oh <—- Fret Greuk Weetere
ea a ’ — Firet Hall Thelen
J — Firat Beatie
~ Firat TrunePonnine Express
Firat OBAL eporetes rail freight
thesagheut the UK
Find out more on page 18
> www. firstgroup.com/uktrain

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‘Our markets

Our businesses in the UK and North America operate in local markets with

different commercial and regulatory features. This overview illustrates

the markets In which we operate, their scale and characteristics together

with our position in each one.

we tees meee oe ee ee —

Our position in the focal bus and ral markets In the UK and In-the student transportation, transit, vehicie services and intercity
coach markets inthe US and Cansda provides us with unrivalled knowledge and experience of the many different commercial
and reguistory frameworks in place and also puts us at the forsfront in developing new and future opportunities,

Our portfolio of businesses Is diversified by geography and customer base and structured In to four main operating divisions:
UK Bus, UK Rail, North America contract businesses (Student transportation, Transit snd Services) and Greyhound. We also
have smail bus operations in Germany and Ireland and are joint venture pertners in rail operations in Denmark and Sweden,

Our strength flee In our diversity. The Group has « balanced portfolo of operations providing # mix of contractbacked snd
passenger revenues, During these challenging economic times thie mix of operations has provided strength and resilience
aguinst a fast changing trading beokdrop, . .

UK BUS
Local bus services in the UK operate on two very different models, Outside

London the market ls dereguisted and wihin London the markt is reguistad
and compatitively tendered. ‘

smnaii— and between the bus and the private car, Revenue principally comes directly
from fere peying passengers and indirectly from reimbursement by local authorities
for conceasionary passengers, Gus operaiors take revenue risk and cost risk.

Bue markets are local and are affected by local issues from demographics to politics
to topography. Local bus servicas operate on @ flexible model with bus opensors
setting fares. frequencies and routes on s commercial basis 10 mest custorner
demand end sleo running “socially necessary" local bus services under coriract .
to local authorities.

London .

Bus services In London are cpereted on behatl of Transport for London (TL).
Contracts ars groas cost and typically five yeers in length. TR species faree,
routes, timetables and vehicles, takes the revenue risk and peys opensiors for
running services with a bonus and pdnelty regime linked to service quality,

Our market share
> We ave the UK's largest bus operator
We Operate one in ive of all local bus servicas

> Our operations ara clversiied by geography — 40 major towne and cites -

passenger:

and by customer and journey purpoes : } OFT report and Commission

>» We operate a modern fleet al half ife Investigation in to local bus services in the UK.
> We also operate Greyhourid intarcity coech seracas in the UK > Local Tranaport Act provisions enacted

> Passenger Focue became statutory waichdog

4 First@roup Annual Reporl and Acocunts 2010

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Case 3:11-mc-00036-L Document 8-3 Filed 03/17/11 Page 26o0f55 PagelD 439

performance tergets are met. + gemeppererrererrirnie Mh ry
" “ . az 7 7

sa markete very but are chan grouped no three sectors London aid Sau Se .
280 . ,
apremum

enchises premium increases (or subsidy dacreeses) Over Te : -
Tee elf some franchisee the fava of premium or subaidy i OOrwEArE.

Our market ae peat ral operator

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> our oparatone are verted by soci en by custorer ere! oureY Pare

> We operate First Hull Trains, an open socess Passenger service, GBRI
ral freight operaior . a

» Through our joint verture with Denieh State Rellwaye we opersi® passonger .

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be

_ Case 3:11-mc-00036-L Document 8-3 Filed 03/17/11 Page 27 of 55! PagelD 440

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largest private sector operator of school in North America — S Safety aid saourtyisapdoity “is
ore ‘ mpet Pitan pera th pl Com me,

NORTH AMERICA INTERCITY COACH
The market
Greyhound Is the nations! provider of achedited intercity coach transportation

city pelt destinations such as New York and CUROTION petioueyintheUS
: Boston and attracts a differart pert in yeh taal
damograpinic to with yield managed fares, onkne reservation and @ > Vahiet i. ate ae

a package of festures Including free wreless Internet on ell buses. tan To romti aie ith ord Hoge

taf yee oS . eis wil
yet 2 a wer
ES our market share . Zhengee ja,ivarket.ducing 2008710: 5 a
vr mcrae ry cra Fade A
> We carry apprexdmately 20 millon passengers par annum . 4 * . .. in set tof rt y

+ We have a fleat of approximately 2,200 vehicles with an avrage feet age Meeesige gorand me .

of 0.9 yours oo > Agresrrient with Canadian Provinods to reduce

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NORTH AMERICA TRANSIT AND SERVICES
‘TRANSIT CONTRACTING AND MANAGEMENT

with the three largest private sector operating lexe than 35% of ine
total outsourced market.
Private transportation companies operate, maintain and organise

Our market share

> We operste 226 locations in 46 US States, Puerto Pico and five Canadien
Provinces snd Tertores 4 .

> We operate and manage 10,800 buses

> Gur etrategy ia to grow in the light transl mariat

> We are one of the largest providers of airport shuttle eervices in the US

VEHICLE MAINTENANCE AND SUPPORT SERVICES

The market

iret Vehicle Services ie one of a number of companies thet provide fleet vahicle a

coaomeeceneecrene Pee a

the vehicie mairgenance market tp bs worth $2.9 billon per annum in total with ras

" Firat Support Services provides operations and maintenance services, Inauang
faciities management and warehousing and supply to agencies of Federal, State
and local governments as well ax to businesses in the privare sector.

Our market share

>» We operate over 150 facdttios m 33 US States and five snternetionsl locations

> We maintain over 43,000 vehicles

» We provide feet maintenance services for pubic and privabe sector cumomers

> We provide support sarvioes including logistics supart anc acities management
to public and privaie seotor cfents induding the US Nevy and Air Foros

* } Contracted revenue
“) High level of customer service ark) rejention ..

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‘growth in our core markets.

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Delivering our key priorities

Our strategy Is to provide safe, rellable, innovative and sustainable transport
services and to deliver long term value for shareholders through profitable

There cen be no doubt that continued economic uncertainty made 2009/10 a challenging yeer Our strategy fo
hulid a balanced, diverse portfolio, together with the actions we have taken, hae provided resifience in a difficult

envir

Our clear strategy to manege the Group through these challenging times enabled us to take swift, decisive action

to mitigate the effects of the recession on trading.

MANAGING OUR COSTS

STRENGTHENING OUR FINANCIAL
POSITION.— REDUCING NET DEBT

Net debt readuotion is 4 key priority for the Group. Despite the
challenging trading environment we were plsased io increase net
cash ganeration during the year which wes used to recuce net
debt. We are confident of furthar opportunities to increase net cash
generation within the Group to accelerate our deleveraging plans.

FiretGroup Anquel Report and Acoounts 2010

Pa anc ee aCe eT a ae Cee

MAXIMISING THE FLEXIBILITY

- IN OUR BUSINESSES

DELIVERING PROFITABLE GROWTH

+ a ome

As we expected, the continued economic weakness preserted

a number ct chalenges during the year. The Group delivered

a readiert with overall trading in line with management
expectations, in this tough trading environment we exosecied our cash
target for the year and expect fo retum to sermings growth In 2010/11.

The Boe le confident In the underlying sirength of the businesses
which, combined with the many actions we have taken to mitigate
the adverse offecte of recession, will ensure the Group continues
to trade robustly through the economic cycle and deliver long term
value for shareholders.

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oe a poO008-DWM Document 176-2 © Pied 02/3/7°Bage Pi eP11Page!D 443

OPERATING AND FINANCIAL REVIEW

KEY PERFORMANCE INDICATORS

‘The Group's managemeni use a wide range of fhencial and non-francal key performance ndalors to messes our periormance during the yew. y
Revenue (en). ———————___Aaistedl operating prot fm) " — Reduaton in Lost Time rguries 2
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, aura 6 : ts
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Exhibit 2-11.

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” About Fylen! Tyler Hechaelggigs

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ABOUT US

Why Tyler

Our Leadership

Success Stores

Speaking From Experience
Corporate History
Technology Porters
Awards and Acsolades
Office Locations

Careers

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WATCH US EMPOWER

Contact Us

Heme > About Us

’ About Us

Our pesaion is empowering our cents.

From al agement and prop taxes to courts and eduction, we create, deliver
and support softs and thet make It easier for local governments and
echoots fo rer iP day-to-dey We have a unique vantage

point dus to our singular focus on serving the publie sector with @ broad product portoko.

From the courtroom to the Tyler's p serve at the backbone fer sore
businaas functions in the public sector. We are dedicated to heiping our local government
and achoo! cients streamine the many sepecte of ther financial management, court case,
property tex, public safety, clizen services, public records and education #ysterne.

However, our commitment gous well beyond delivering aolulions that work for our pubile
sector cients. H's sbout evel ving value for ernployeus and dere oe

wet

Our deep indusiry knowledge comes from aur siaif —- many cf whom held public sector ,
positions prior ta joining Tyler. They understand whet clents want and need to operate
more efficiently because they've been there. They irensier their subject matter expertias 10

new emplayess whe in tun become experts themesives, eventually passing it song to others. ;

(With thie knowledge and experience --- slong with focused Innovation and an earrest
comniinent to our chents ~- we ere positioned beter than snyone to anticipate and eddrees
the changing technology needs of the public sector,

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“ Versatrans Product Bui 1 ion | Tyler Technologies
oduct Svite Sehgal Buy Transnereties | MEY OS/ivit1 Page 32 of 55 PagelD 445

“ge tyler,

Home Sotutions & Products News & Events About Us Cilent Support

RELATED

Versatrans Product Suite
information Wsrehouse
Transportation

Route Creation & Planning
Telematic GPS:

GPS Vehicte Location
Field ‘Trip Scheduling
Fleet Management

Online information Portal

” SERVICES

Page 1 of 1

Register | Login

WATCH US EMPOWER

Home> a >P > Product Sate

Versatrans Product Sulte — School Transportation
Software that Empowers

Plan and your gi tion needa.

Srert planning ylekis arnedt wesuks, ered at Tyler, we are here to help you achieve both wilh

our powerful From ing your ion needs 10

establishing your diatricts' boundertes and plane, Vernstrans can hein you cresie Greater
5 out your operations

Schoo! districts are looking fer ways lo improve efficiencies, cut costs, provide more service
and comply with go" re reece Tyler's \ iulions ere prover fo reduce
costs and enhance efficiencies.

tion nt

cost-effectively menage your Gay-to-day ireneportation neede—with the freniaiity to plan for

GP8 data cofection, revieve. and uiizaton es well as ‘whet scenarios to sesiet In planning
for the (lure, Wih Versairane, you ean saiely transport students and stellt and from fel
educational programe on time and on budget.

Schoo! y¥ and District ng
School populations are ing Jicaily around the courtiry. Now more than ever,
super ce and school need 2 smart solution for schoo! planning and

rediatricting. Versairans simples this ye Wing you 80 ming and share

leadera. F ring robust ation tnols, can saaly analyze your most
Important date, such es student populations, bulking capacties end snrolienert boundaries.
With Vernairana, you have averything you need to pian for taday-—Bnd prepare for torncerow,

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Speaking from
Experience

Privacy Gteternent ) T

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http://www tylertech.com/ solutions-products/versatrans-product-suite

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Bloomberg Law’
Company Report

TYLER TECHNOLOGIES INC
§949 Sherry Lane

Sulte 1400

Dallas, TX 75225

United States

www.tylertechnologies.com

1-972-713-3700
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Company Hierarchy
Corporate Actions

Most Recent Filings
Recent Company News

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Company Overview

ae ecologies Ine, provides end-to-end information management sokitona and services for local governments, The Company's Sent
tree Includes local government offices throughout the United States, Canada, Puerto Rica, and the United Kingdom.

QUICK-PROFILE
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Financial Results
All financials are in millions of USD; annual data Is shown for 2007 to 2010

OVERVIEW

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VersaTyapsacguized by dylgs dechnglogies in Dallas Lane AS eves ge 36 of 55 Pate ID 449

This Was Printed From The Business Review

VersaTrans acquired by Tyler
Technologies in Dallas"

The Business Review

Date: Monday, February 4, 2008, 5:05pm EST - Last Modified: Monday,
February 4, 2008, 5:23pm EST

. Related:

Technology, Commercial Real Estate

VersaTrans Solutions Inc., a Latham company that makes bus-routing

software, has been acquired by Tyler Technologies Inc, a public company In
Dallas.

Tyler (NYSE: TYL) also. acquired a second software company, Olympia
Computing Co., based In Turnwater, Wash. Tyler said the two companies were
acquired for a combined $16 million.

‘The two companies had a combined revenue of $13 million In 2007.
VersaTrans reported having $9.1 million In revenue In 2007.

Olympia makes software related to the reporting of student Information. It is
used by 16,000 educators across the country. VersaTrans makes bus-routing
software for 1,300 public school districts. .

Tyler said the two acquisitions were designed to broaden its customer base In
the K-12 market. Tyler makes products related to financial management and
student information. :

VersaTrans CEO Doug Hamiin said being acquired by Tyler was an exciting
development for the company and its clients because Tyler shares VersaTrans’
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http://www. bizjournals. com/albany/stories/2008/02/04/daily8.htm! 3/6/2011
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Westlaw.

390 Fed.Appx. 742, 2010 WL 3005986 (C.A.9 (Mont.))
(Not Selected for publication in the Federal Reporter)

Page 1

(Cite as: 390 Fed.Appx. 742, 2010 WL 3005986 (C.A.9 (Mont.)))

This case was not selected for publication in the Fed-
eral Reporter.

Not for Publication in West's Federal Reporter See
Fed. Rule of Appellate Procedure 32.1 generally gov-
erning citation of judicial decisions issued on or after
Jan. 1, 2007. See also Ninth Circuit Rule 36-3. (Find
CTA9 Rule 36-3)

United States Court of Appeals,
Ninth Circuit.
EDUCATION LOGISTICS, INC., a Montana corpo-
ration; Logistics Management, Inc., a Washington
corporation, Plaintiffs- Appellants,

v.
LAIDLAW TRANSIT, INC., a Delaware corpora-
tion, Defendant-Appellee.

No. 09-35601.
Argued and Submitted June 7, 2010.
Filed Aug. 2, 2010.

Background: Licensor of software for student bus
transportation services brought action against licen-
see, alleging breach of contract. The United States
District Court for the District of Montana, Donald W.
Molloy, J., granted summary judgment in favor of
licensee. Licensor appealed.

Holdings: The Court of Appeals held that:
(1) duties to promote and facilitate each other's busi-
nesses, as set forth in parties' contract, survived the
termination of the exclusive license, and
(2) fact issues barred summary judgment.

Affirmed in part, reversed in part, and remanded.

Hall, Circuit Judge, filed opinion, concurring in
part and dissenting in part.

West Headnotes

[1] Copyrights and Intellectual Property 99
107

99 Copyrights and Intellectual Property

99TI Intellectual Property
99k107 k. Contracts. Most Cited Cases

Under Montana law, software licensor's and li-
censee's mutual duties to promote and facilitate each
other's businesses, as set forth in parties’ contract,
survived the termination of the exclusive license;
contract did not explicitly or implicitly provide that
the promotion and facilitation duties applied only to
the exclusive license period, and contract provided
for perpetual non-exclusive licensing period. MCA
28-3-303, 28-3-307.

[2] Federal Civil Procedure 170A €= 2493

170A Federal Civil Procedure
17OAXVII Judgment
17OAXVI(C) Summary Judgment
1JOAXVIM(C)2 Particular Cases
170Ak2493 k. Copyright, trademark,
and unfair competition cases. Most Cited Cases

Genuine issues of material fact as to whether and
when breaches of licensing agreement for student bus
transportation services software occurred precluded
summary judgment, in breach of contract action, un-
der Montana law. MCA 30-2-725(2).

#742, Ronald A. Bender, Matthew James Cuffe, Es-
quire, Worden Thane, P.C., Missoula, MT, Samuel
Taylor Bull, Esquire, Charles Paul Nomellini, Attor-
ney General, Foster Pepper, PLLC, Seattle, WA, for
Plaintiffs- Appellants.

Marcia J. Davenport, Scott Fisk, Crowley, Haughey,
Hanson, Toole & Dietrich, Helena, MT, Debra _D.
Parker, Missoula, MT, for Defendant-Appellee.

Appeal from the United States District Court for the
District of Montana, Donald W. Molloy, District
Judge, Presiding. D.C. No. 9:07-cv-00006-DWM.

Before. HALL, FERNANDEZ and McKEOWN,
Circuit Judges.

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390 Fed. Appx. 742, 2010 WL 3005986 (C.A.9 (Mont.))

(Not Selected for publication in the Federal Reporter)

(Cite as: 390 Fed.Appx. 742, 2010 WL 3005986 (C.A.9 (Mont.)))

FN* This disposition is not appropriate for
publication and is not precedent except as
provided by 9th Cir. R. 36-3.

**1 Education Logistics and Logistics Manage-
ment, Inc. (“Edulog”) appeal from the grant of sum-
mary judgment to Laidlaw Transit, Inc. in this action
arising from a claimed breach of a 1992 contract
(“the *743 Agreement”) to license software for rout-
ing student bus transportation services. Reviewing de
novo, we affirm in part, reverse in part, and remand
for further proceedings.

(1] The district court concluded that the parties’
duty to promote and facilitate each other's business,
contained in Section 2.3.3 of the Agreement, did not
survive the termination of the exclusive license in
1997. The court based its conclusion primarily on a
specific reference within Section 2.2, the exclusive
license provision, subjecting it to Section 2.3, and the
absence of such a reference in the non-exclusive li-
cense provision, Section 2.1. Interpreting the agree-
ment as a matter of law, we conclude the promotion
duty survives the exclusive license period. Nothing in
Section 2.3.3 explicitly or implicitly provides that the
promotion duty applies only to the exclusive license
provision; correspondingly, the non-exclusive license
provision, Section 2.1, does not provide that it is ex-
empt from the promotion duty provision. See
Mont,Code Ann. § 28-3-303. When read as a whole,
the Agreement does not require a specific reference
to another provision in order for that provision to
affect obligations within the provision being inter-
preted. See Mont.Code Ann. § 28-3-202.

Further, while Section 2.3 includes the duty to
promote under Section 2.3.3, it also contains other
duties, for example the “no contact” duty under Sec-
tion 2.3.2 and the “‘avoid conflicts” and “prevent
breaches by agents” duties under Section 2.3.3.
Common sense and a plain reading of the Agreement
dictate that these core duties-which are not provided
for elsewhere in the Agreement-would continue dur-
ing the perpetual non-exclusive license period. Con-
sequently, interpreting Section 2.2 to require the ter-
mination of the Section 2.3.3 promotion duty would
force an unnatural reading of the remainder of Sec-
tion 2.3. See Mont.Code Ann. § 28-3-307. We con-
clude that summary judgment in favor of Laidlaw is
not warranted on the basis articulated by the district

court, namely that the promotion duty claims accrued
following the exclusive license period.

Section 23.0 provides that the Agreement “shall
be governed by any applicable provisions” of the
Montana Uniform Commercial Code (“MUCC”)
“{e]xcept to the extent that the provisions of this Con-
tract are clearly inconsistent” with that application.
We agree with the district court that the MUCC's
four-year statute of limitations applies. See
Mont.Code Ann. § 30-2-725.

The parties’ intention that the MUCC governs
whenever applicable is clear from the language of the
contract alone. See Mont.Code Ann. § 28-3-303. Ad-
ditionally, the MUCC’s limitations provision govern-
ing contracts for sale serves as a more specific provi-
sion than Montana's eight-year limitations provision
for contracts generally. See Mont,Code Ann. § 1-2-
102; 27-2-202; 30-2-7205; see also, e.g., In_re MSR
Exploration __Ltd,, _147__B.R. 560. 568
(Bkrtcy.D.Mont.1992). The Section 23.0 language
designating the MUCC as governing law is explicit,
and does not involve an absurdity. See Mont.Code
Ann. § 28-3-401; Ophus v. Fritz, 301 Mont. 447, 11
P.3d_ 1192, 1196 (2000). Edulog’s claim that a sub-
stantive provision offering relief under the MUCC
must be identified before the MUCC's statute of limi-
tations provision may be applied is unsupported. Ap-
plication of the MUCC limitations provision is not
“clearly inconsistent” with the provisions of the
Agreement, and thus the MUCC four-year statute of
limitations applies.

**2 [2] Edulog filed this suit on January 11,
2007. Following summary judgment on the promo-
tion duty, the district court concluded that all of Edu-
log's remaining claims accrued before January 11,
2003, #744 and granted summary judgment to Laid-
law on statute of limitations grounds. We agree that
the record is replete with evidence that a number of
alleged breaches of the Agreement occurred well
before January 2003. Although discovery is not re-
quired to trigger the MUCC limitations period, it
bears noting that there is also ample evidence Edulog
was aware of these potential breaches long before
January 2003. See Mont.Code_ Ann. § 30-2-725(2).
However, the district court does not appear to have
considered whether new breaches for which Edulog
may recover may have occurred within the limita-
tions period. The Agreement is properly character-

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ized as a contract with continuing obligations capable
of distinct and separate breaches. See Minidoka _Irri-
gation Dist. v. Dep't of Interior, 154 F.3d 924, 926
(9th _Cir,1998). For example, Laidlaw's duty to pay
royalties arises whenever a “New Bus” enters ser-
vice. Laidlaw, which has continued to perform under
the Agreement, has not demonstrated a total repudia-
tion of the Agreement. Edulog, on the other hand, has
submitted evidence raising a genuine issue of mate-
rial fact whether Laidlaw has engaged in new
breaches of the contract since January 11, 2003.
Summary judgment was not appropriate for breaches
Edulog alleges occurred since that date. See Sands vy.
Nestegard, 198 Mont. 421, 646 P.2d_1189, 1193
(1982). We affirm the grant of summary judgment as
to all claims accruing prior to January 11, 2003, in-
cluding promotion duty claims, and reverse and re-
mand for further proceedings as to claims accruing
on or following that date.

AFFIRMED IN PART, REVERSED IN
PART, AND REMANDED. Each party shall pay
its own costs on appeal.

HALL, J., concurring in part and dissenting in part.

L agree with the majority that the Montana UCC's
four-year statute of limitations applies and that the
district court improperly granted summary judgment
as to breach of contract claims accruing on or after
January 11, 2003. I do not agree, however, that Laid-
law's duty to promote and facilitate Edulog's business
under Section 2.3.3 of the Agreement survived the
expiration of the exclusive license.

Section 2.2 of the Agreement explicitly condi-
tions Laidlaw's exclusive license on the terms of Sec-
tion 2.3 of the Agreement, which includes the duty to
promote Edulog's software. Section 2.1 of the
Agreement places no limitations on Laidlaw's perpet-
ual non-exclusive license. If Section 2.3 of the
Agreement were to apply to both the non-exclusive
license and the exclusive license, there would be no
need to include the express limitation in Section 2.2.
It seems unlikely that the parties would draft two
adjacent provisions, include an express limitation in
just one provision, yet intend that that limitation
would apply to both provisions. It also seems
unlikely that the parties would see the need to ex-
pressly cross-reference a duty to promote in the con-
text of a five-year exclusive license but would omit
such a reference in the context of creating the same

duty in perpetuity.

#*3 All of the provisions of Section 2.3 appear
compatible only with an exclusive arrangement be-
tween Edulog and Laidlaw. Section 2.3.1 refers to
“Retention of Rights by LMI During the Currency of
Exclusive License” and refers only to Section 2.2 of
the Agreement. Section 2.3.2 (the “no contact” duty
referenced by the majority) provides Laidlaw the
exclusive right to market to its own customers and
limits Edulog's ability to contact Laidlaw's customers
directly. This provision only makes sense if Laidlaw
has an exclusive license to market Edulog's software.
Once the exclusive license expires, Edulog is *745
free to provide its software to competing school bus
providers, who in turn would be free to contact Laid-
law's customer base.

The mutual promotion and facilitation duties in
Section 2.3.3 itself make little sense if, under the per-
petual non-exclusive license, Edulog may freely li-
cense its software to Laidlaw's competitors. Section
2.3.3 obligates (1) Edulog and Laidlaw to work to-
gether to minimize potential conflicts and define re-
spective markets; (2) Edulog to use its best efforts to
promote Laidlaw bus services; (3) Laidlaw to use its
best efforts to promote Edulog software, and (4) both
parties to ensure that employees and contractors do
not contravene the Agreement. Once Edulog begins
serving Laidlaw's competitors-who presumably
would attempt to infiltrate Laidlaw's market-Edulog
loses any real ability to insulate Laidlaw from com-
petition. If Edulog is unable to meaningfully fulfill
the obligations set forth in 2.3.3 upon the expiration
of the exclusive license, it seems unlikely that the
parties would have intended for Laidlaw to actively
promote Edulog software in perpetuity.

The most reasonable interpretation of the
Agreement is that the duty to promote in Section
2.3.3 only applies for the duration of the exclusive
license set forth in Section 2.2. I therefore dissent in
part.

C.A.9 (Mont.),2010.

Education Logistics, Inc. v. Laidlaw Transit, Inc.

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(Mont.))

END OF DOCUMENT

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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action OV oD; WE) dj

UNITED STATES DISTRICT COURT AYN
for the

Northern District of Texas

EDUCATION LOGISTICS, INC., ET AL.
Plainiff
v

)
LAIDLAW TRANSIT, ING
)

Civil Action No. 07-06-M-DWM

(If the action is pending in another district, stats where:
‘District of Montana, Missoula Division )

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Capitol Corporate Services, Inc. as Registered Agent for Tyler Technologles, Inc.
800 Brazos, Sulte 400, Austin, Texas 78701

& Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the

material:
See Exhibit A

|
Place: ATTN: Stephen C. Schoettmer, Thompson & Knight _| Date and Time:
Lee oe ts oT 1722 Rough Street, Suite 1500, 02/28/2011 10:00 am

} Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are

attached.

Date: Qf NU4/ 99 U( - 2
CLERK OF COURT D. [flor C Schtn
OR

Signarure of Clerk or Deputy Clerk ‘ Altornay's signature

The name, address, e-mail, and telephone number of the attorney representing (name of party) Plaintiffs
, who issues or requests this subpoena, are:

Samuet T. Bull, FOSTER PEPPER PLLC ~ .
1111 Third Avenue, Suite 3400, Seattle, WA 98101

E-mall: bulls@foster.com Telephone: (206) 447-5142 FIDAVIP

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AO &8B (Rev. 06/09} Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Pages 2)

Civil Action No, 07-06-M-DWM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P, 45.) |

This subpoena for (name of individual and title, if any)
was received by me on (date)

(J I served the subpoena by delivering a copy to the named person as follows:

(3 I retuned the subpoena unexecuted because: ATTACHED —

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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Came to hand on the

18th day of February , 2011, at
Cause No. 07~-06-M-DWM

Executed at 800 Brazos Street, Suite 400
within the County of Travis at

of February , 2011, by delivering to the within named:

TYLER TECHNOLOGIES, INC.,
by delivering to its Registered Agent, CAPITOL CORPORATE SERVICES, INC.,

by delivering. to its designated agent, TONI OZEN, in person, a true copy of

this Supboena to Produce Documents, having first endorsed upon such copy of
such Subpoena the date of delivery.

2:45 o'clock pm.

Austin, Texas 78701
4:15 o'clock pm onthe 18th day

I am not a party to or interested in the outcome of the suit referenced above.
I am authorized by written order to serve citation and other notices. I am not

less than eighteen (18) years of age.

Service Fee §

EDUCATION LOGISTICS, INC., ET AL.

Tom Kroll IpD# SCH - 3012
(Authorized Person)

[ |
| |
| |
| |
| Plaintiff |
| | THOMAS PROCESS
| v. | 809 Rio Grande Street
| LAIDLAW TRANSIT, INC. | Suite 103
| | Austin, Texas 78701
| | (512) 320-8330
| Defendant |
l j
VERIFICATION
STATE OF TEXAS §
COUNTY OF TRAVIS §

BEFORE ME, A NOTARY PUBLIC, on this day personally appeared

Tom Kroll , known to me to be the person whose name

is subscribed to the foregoing document and, being by me first duly sworn,

declared that the statements therein contained are true and correct.
Given under my hand

anu! Wittig, lly

and seal of office this 19th s ft yy
February , A.D., 2011. See Ry %0%
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NOTARY PUBLIC, STATE OF TEXAS% -“.¢ Or1teh $=

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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting 9 Person Subject to a Subpoena.

(1) Avoiding Undue Burden or Expense} Sanctions. A party or
attomey responsible for issuing and serving a subpoena must take
reasonable sieps to avoid Imposing undue burden or expense ona .
person subject to the subpoena, The issuing court must enforce this
duty and impose an appropriate sanction — which may include lost
earnings and reasonable attorney's fees —~ on a party or attorney
who fails to comply.

(2) Command to Produce Materlals or Perrdt Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored Information, or tangible things, or
to permit the Inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
_ fora deposition, hearing, or trial,

(B) Objections, A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or-all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested, The objection must be
served before the carlicr of the time specified for compliance or 14
days after the subpoena is served, If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
_ parly may move the Issuing court for an order compelling production
or inspection,

(ii) These acts may be required only as directed In the order, and
the order must protect a person who is neither 2 party nor-a party's
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena,

(A) When Required, On timely motion, the issulng court must
quash or modify a subpoena that:

(i) fails to allow a reasonable time to.comply;

(ii) requires a person who Is neither a party nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts buslness in person — except that,
subject to Rule 45(c)(3)(B)(ili), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trlal'Is held;

(tii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden,

(8) When Permitted, To protect a person subject to or affected by
"a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosIng a trade seoret or other confidential research,
development, or commerclal Information;

(ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from
the expert's study that was not requested by a party; or

(ii) a person who Is neither a party nor a party’s officer to incur
substantial expense to travel. more than 100 miles to attend trial,

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production mder =“
specified conditions if the serving party:

(i) shows a substantia] need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated,

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which It is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
clectronically stored information in more than onc form.

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jaformation Withheld, A person withholding subpoenaed
information under a claim that it ls privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(il) describe the nature of the withheld doctrments,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim,

(B) Information Produced, \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly return, sequester, or
destroy the specified Information and any copies it has; must not use
or disclose the information unti] the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to.
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person

who, haylng heen served, fails without adequate excuse to obey the
subpoena, A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonpdrty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)(ii),

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EXHIBIT A
VersaTrans Solutions (“VersaTrans”), a division of Tyler Technologies, Inc., shall

produce all Documents in its possession, custody or control that are responsive to the requests

below.
. DEFINITIONS
1. “Contract” means any agreement, written or oral.

2, “Document(s)” means, without limitation and in the broadest sense possible,
writings of any kind, including the originals and all non-identical copies, whether different from
the originals by reason of notation made on such copies or otherwise, including without
limitation al] internal and external email, letters, faxes, communications of any nature, reports,
opinions, summaries, data compilations, charts, worksheets, spreadsheets, agreements,
memoranda, and notes.

If information is on a computer disc, tape, or other memory or storage device, the term
“document” means an electronic file in native file format. Please save these electronic files to
dise and produce them along with any responsive hard-copy documents. If responsive data is
maintained in a computer database that cannot be printed or produced in native format, in your

response please describe (a) the types of data catalogued, (b) the software used to store, search,
and display the data, and (c) the types of reports that can be produced from the data.

3, “Edulog” means Education Logistics, Inc.
4, “Initial Sale” means the first sale made by VersaTrans to a new customer.
5. “Taidlaw” means Laidlaw Transit, Inc., a Delaware corporation, now known as

First Student or FirstGroup America,. along with all of its successors in interest, affiliates,
subsidiaries, current and former employees, staff members, supervisors, officials, executives,
officers, directors, board members, managers, representatives, agents, attorneys, consultants,
experts, investigators, accountants, “Laidlaw. Planning Solutions” and any other person(s) or
entity(ies) directly or indirectly retained by Laidlaw Transit, Inc. ‘or anyone else acting on its

behalf or otherwise subject to its control,

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6, “LMI” means Logistics Management, Inc,
7. “LPS” means Laidlaw Planning Solutions.
8. “Person” or “Persons” means a natural person or persons, corporations,

partnerships, or any other entity, Conversely, “entity” means entities as well as natural persons.

9, “Routing software providers” means any provider of routing software, including
but not limited to Ecotran, Edgar, EPS,’ GeoSpatial Technologies, MicroAnalytics, Transfinder,
Trapeze, and VersaTrans Solutions.

10. ‘“VersaTrans” means VersaTrans Solutions, a division of Tyler Technologies,
Inc., including its successors and predecessors in interest.

11. Applicable time frame. Unless otherwise specified, responses to this subpoena
should incorporate all available material from January 1, 1987 to present. .

12. Singular/Plural. The use of the singular or plural form of a word should not be
construed to exclude any information from any answer or response, The plural should therefore
include the singular, and the singular should therefore include the plural, when necessary to
prevent such exclusion. :

13, “And” & “Or.” The words “and” and “or” should not be interpreted to exclude
any information from any answer or response. Both words should be interpreted to mean
“and/or”-when necessary to prevent such exclusion

SUBPOENAED DOCUMENTS
1. All contracts entered into between VersaTrans and Laidlaw including without

limitation all drafts of same, and all copies with any hand-written notes thereon.

2, All documents, including, but not limited to, correspondence, letters, memos,
emails, faxes, and hand-delivered notes, exchanged between Laidlaw and any employee or
former employee of VersaTrans related to the purchase, provision, installation, or promotion of
bus routing software, including those circumstance in which routing software was discussed as

part of a larger package.

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3. All documents, including, but not limited to, correspondence, letters, memos,

emails, faxes, and hand-delivered notes, exchanged between VersaTrans and any third-party

related to the promotion by Laidlaw of VersaTrans services and products.

4, All sales and/or promotional material provided by VersaTrans to Laidlaw related,
even in part, to bus routing software.

5. All documents reflecting the number of requests for proposals that VersaTrans

received from school districts or school bus contractors (such as Laidlaw) in each year from

2003 to present.
6. All documents reflecting the number of requests for proposals received from

schoo! districts or school bus contractors (such as Laidlaw) to which VersaTrans responded in

each year from 2003 to present.

7. All VersaTrans responses to requests for proposals received from school districts.

or school bus contractors (such as Laidlaw) from 2003 to present.

8.° All documents reflecting revenue received by VersaTrans relating to the sale of
routing software from initial sales to school districts in each year since 1987, or since
VersaTrans’s inception, if VersaTrans was not then in business.

9, All documents reflecting revenue received by VersaTrans from annual licensing
and/or maintenance fees relating to routing software from each school district in each year since

1987, or since VersaTrans’s inception, if VersaTrans was not then in business.

10. All documents reflecting VersaTrans’s aggregate sales of routing software ineach .

year since 1987, or since VersaTrans’s inception, if VersaTrans was not then in business.
11. All documents reflecting the number of salespeople in VersaTrans’s sales force in
each year since 1987, or since VersaTrans’s inception, if VersaTrans was not then in business.
12. All documents reflecting VersaTrans’s market and sales promotion budget in each

year since 1987, or since VersaTrans’s inception, if VersaTrans was not then in business.

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13. All documents reflecting the number of sales calls made by VersaTrans on school

districts in each year since 1987, or since VersaTrans’s inception, if VersaTrans was not then in

business.

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FOSTER PEPPER

Direct Phone (206) 447-5142
Direct Facsimile (206) 749-1949
E-Mail bulls@foster.com

February 14, 2011

VIA MESSENGER

Tyler Technologies, Inc.
5949 Sherry Lane, Suite 1400
Dallas, TX 75225

Re: ducation Logistics, Inc., et al. v. Laidlaw Transit, Inc.
U.S. District Court for the District of Montana, Missoula Division, Cause No.

CV-07-06-M-DWM
Dear Sir or Madam:

We represent Education Logistics, Inc. and Logistics Management, Inc. (collectively,
“Edulog”), plaintiffs in the above-referenced lawsuit. Enclosed is a copy ofa Subpoena in a
Civil Action to Tyler Technologies, Inc. The subpoena directs you to produce and permit
inspection and copying of the requested documents on February 28, 2011 at 10:00 a.m. at ATTN:
Stephen C. Schoettmer, Thompson & Knight LLP, One Arts Plaza, 1722 Rough Street, Suite
1500, Dallas TX 75201.

The requested documents relate to Edulog’s claim against Laidlaw Transit, Inc. that it has
failed to use its best efforts to promote Edulog’s routing software as required by Edulog’s 1992
agreement with Laidlaw. To understand the impact of Laidlaw’s breach of contract on Edulog’s
sales and Laidlaw’s actions in promoting competing software, we are requesting historical
financial and sales data from you for the period 1987 to present.

Edulog served a subpoena on Tyler Technologies in this matter in October 2008. In
response, Tyler Technologies objected to much of the requested production. Shortly after Tyler
Technologies asserted its objections, the Montana court dismissed Edulog’s duty to promote
claim. As aresult, Edulog did not seek to enforce the 2008 subpoena. Now however, Edulog’s
claim has been reinstated and Edulog is serving this revised subpoena on Tyler Technologies.

Tyler Technologies previous objections generally asserted that the requested material
“require[d] disclosure of trade secret or confidential information.” A protective order has been
entered in this lawsuit and is enclosed with this letter and subpoena. It protects the
confidentiality of documents and other information produced in discovery by the parties to this
lawsuit. If the documents you produce in response to the subpoena are confidential and you wish
to avail yourselves of the protections afforded by the order, please advise us and we will work
with you to obtain appropriate protection from the Court.

TEL: 206.447.4400 pax: 206.447.9700 1111 THIRD AVENUR, suITR 3400 SEATTLE, WASHINGTON 98101-3299 www.FOSTER.com
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February 14, 2011
Page 2

Please contact me with any questions. Thank you, in advance, for your cooperation and
assistance.

Very truly yours,

Samuel T. Bull

Enclosures

cc: | Chuck Nomellini
Ronald Bender
Stephen Schoettmer
Debra Parker
James Jordan
Devon Sharp

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PATRICK E. DUFFY, CLERK

DEPUTY CLERK. MISSOULA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
EDUCATION LOGISTICS, INC., a Montana Cause No. CV-07-06-M-DWM
corporation, and LOGISTICS MANAGEMENT,
INC., a Washington corporation, PROTECTIVE ORDER

Plaintiffs,
“VS-

LAIDLAW TRANSIT, INC., a Delaware
corporation,

Defendant.

This matter having come before the Court on the stipulation of the parties and it

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appearing to the Court that confidential and proprietary information, including both technical and
" sales related information, relative to the software licensing agreement that is the subject of this
lawsuit will be requested, produced and exchanged and good cause appearing:

IT IS HEREBY ORDERED, pursuant to Rule 26(c), F.R.Civ. P.:

1. All discovery designated Confidential or Attorneys' Eyes Only Information under
this Protective Order shall be used solely for the purpose of prosecuting or defending the
Proceeding and for no other purpose.

2. The party producing discovery material containing information that is not publicly
available may designate as "Confidential" any information that it in good faith believes embodies
confidential information ("Confidential Information"). The producing party may designate
Confidential Information by stamping each page of a document containing such Confidential
Information with the legend "Confidential." With respect to multi-page documents which
contain Confidential Information, the designation may be made by stamping only the first page
thereof "Confidential." Inadvertent failure to designate material as Confidential shall not be
deemed a waiver of any claim of confidentiality as to such matter, and the same thereafter may be
corrected by supplemental written notice.

3. Confidential Information may be disclosed to or made available by the party
receiving such information, only to the following “Qualified Persons" as defined herein. -The
term "Qualified Persons" means:

(a) The Court and employees thereof if filed under seal, unless the Court

orders otherwise;
Protective Order .. Page 2 of )1

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(b) Any party to the Proceeding (including in-house counsel, employees and
agents of the parties),
 (c) Outside counsel of record to any party to the Proceeding;

(d) Court reporters; .

(e) Outside experts, advisors or consultants retained by counsel of record in
the Proceeding, but only to the extent reasonably deemed necessary by such
counsel of record; provided that such experts, advisors or consultants are not
employed by any non-party competitor of the producing party and that prior to
disclosure of any Confidential Information, counsel for the party proposing such
disclosure shall deliver a copy of this Protective Order to any such expert, advisor
or consultant, shall explain the terms of the Protective Order, and such expert,
advisor or consultant shall execute a copy of the Confidentiality Agreement in the _
form of Exhibit A. The expert, advisor, or consultant shall further acknowledge
that he or she is subject to the jurisdiction of the Court and to any other court that
may obtain jurisdiction. A copy of each such undertaking shal] be forwarded to
the other parties at the end of the Proceeding or at the time the identity of the
expert, advisor or consultant is disclosed. If any expert, advisor or consultant is
called to testify, a copy of such person's undertaking will be provided to the other
party no later than that time;

® Potential fact witnesses, to the extent reasonably necessary, in connection
with their testimony or in preparation thereof, provided that such witness is given

a copy of the Protective Order, is advised that he or she is subject to its terms and

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conditions and acknowledges the terms thereof by the execution of the

Confidentiality Agreement in the form of Exhibit A. The witness shall further

acknowledge that he or she is subject to the jurisdiction of the Court and to any

other court that may obtain jurisdiction. A copy of such Confidentiality

' Agreement shall be furnished to the other parties at the end of the Proceeding or

the time the identity of the fact witness is disclosed. In the case of actual

testimony, the witness shall acknowledge on the record that he or she has read the

Stipulated Protective Order and will abide by its terms; and .

(g) Other persons only after notice to all parties and upon order of the Court,

or upon prior written consent of the producing party.

4, The terms counsel, expert, advisor and consultant include their staff who are
assigned to and necessary to assist such counsel, expert, advisor or consultant in the preparation
of this litigation.

5. The party producing discovery material containing information that is miore highly
private than Confidential Information may designate such documents or information for
attorneys’ eyes only ("Attomeys' Eyes Only Information"). The purpose of the Attomeys' Eyes
Only Information designation is to provide a mechanism whereby the parties may produce certain
documents containing confidential financial, customer, and/or proprietary information to

_opposing counsel for use in this Proceeding without those documents and information being
made available to the opposing parties themselves, or their agents, except by a further specific
agreement of the parties or order of the Court.

6. The producing party may designate Attomeys' Eyes Only Information by stamping

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each page of a document containing such Attorneys’ Eyes Only Information with the legend
"Attorneys' Eyes Only." With respect to multi-page documents which contain Attorneys' Byes
Only Information, the designation may be made by stamping only the first page thereof

" Attorneys’ Eyes Only." Inadvertent failure to designate material as Attorneys’ Eyes Only shell
not be deemed a waiver of any claim of confidentiality as to such matter, and the same thereafter
may be corrected by supplemental written notice.

7. Attorneys’ Eyes Only Information may be disclosed to or made available by the
party receiving such information only to the following "Qualified Persons for Attorneys’ Eyes
Only Information" as defined herein. The term "Qualified Persons for Attorneys’ Eyes Only
Information" means:

(a) The attorneys of record working on this Proceeding on behalf of any party

and any paralegal assistants, stenographic and clerical employees working under _

the direct supervision of such counsels,

. (b) The Court and the employees thereof, including necessary stenographic

and clerical personnel (¢.g., court reporters) if filed under seal, unless.the Court .

orders otherwise;

(c) The parties' outside expert(s) or consultant(s) whom counsel, in good faith,

require to provide assistance in the course of this Proceeding; provided that such

experts, advisors or consultants are not employed by any competitor of the -

producing party and that prior to disclosure of any Attorneys’ Eyes Only

Information, counsel for the party proposing such disclosure shall deliver a copy

of this Protective Order to any such expert, advisor or consultant, shall explain the

“Protective Order Page 5 of 1!

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